  Case 4:22-cv-01781 Document 39 Filed on 10/18/23 in TXSD Page 1 of 1
                                                               United States District Court
                                                                 Southern District of Texas

                                                                    ENTERED
                                                                  October 19, 2023
                IN THE UNITED STATES DISTRICT COURT              Nathan Ochsner, Clerk
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION



CORNELL L. GALENTINE and SALLIE §
GALENTINE,                       §
                                 §
                Plaintiffs,      §
                                 §
v.                               §
                                 §         CIVIL ACTION NO. H-22-1781
U.S. BANK, NATIONAL ASSOCIATION, §
AS TRUSTEE FOR SECURED ASSET     §
SECURITIES CORPORATION MORTGAGE §
LOAN TRUST 2007-RFI, and WELLS §
FARGO BANK, N.A.,                §
                                 §
                Defendants.      §


                            FINAL JUDGMENT


     In accordance with the court's Memorandum Opinion and Order

granting Defendants' Motion for Judgment on the Pleadings, this

action is DISMISSED with prejudice.

     Costs will be taxed against the plaintiffs.

     This is a FINAL JUDGMENT.

     SIGNED at Houston, Texas, on this 18th day of October, 2023.




                                              SIM LAKE
                                 SENIOR UNITED STATES DISTRICT JUDGE
